Case 2:10-md-02179-CJB-DPC Document 6356-8 Filed 04/25/12 Page 1 of 4

_ GULF COAST CLAIMS FACILITY
SAMPLE RELEASE and COVENANT NOT TO SUE

This is a sample of the Release and Covenant Not To Sue that you will be required to sign if you accept the
GCCF Offer of Final Payment. DO NOT SIGN THIS SAMPLE RELEASE. You will receive a copy of the
Release and Covenant Not to Sue for you to sign with your Offer of Final Payment.

Important Information About The Attached
Release And Covenant Not To Sue

The attached Release and Covenant Not to Sue (“Release”) is a binding legal document. By signing this
document, you are forever waiving and releasing all claims that you may have against BP or any other party
other than claims for Bodily Injury (including claims alleging a mental health injury) (“Bodily Injury”) or by
shareholders of BP or other Released Parties for alleged violation of Securities laws (“Securities Claim”) in
connection with the April 20, 2010 blowout of the Macondo Well, the sinking of Transocean’s Deepwater
Horizon drilling rig, and the subsequent oil spill in the Gulf of Mexico (the “Incident’”’).

You are under no obligation to accept the final payment offered to you by the Gulf Coast Claims Facility.
You are free to reject the final payment offered by the Gulf Coast Claims Facility and to pursue other means
of compensation. If you want to file a lawsuit regarding the Incident or make a claim against the Oil Spill
Liability Trust Fund, do not sign this Release.

By signing the attached Release, you are forever giving up and discharging any rights which you may have for
any costs, damages or other relief related to or arising from the Incident (excepting claims for Bodily Injury or
Securities Claim), even if you are not currently aware of such costs or damages and even if such costs or
damages arise in the future (1.e., additional oil impacts) or do not manifest themselves until the future.

By signing the attached Release, you acknowledge that you have read and understand the terms of the Release,
and that you execute the Release voluntarily and without being pressured or influenced by, and without
relying upon, any statement or representation made by any person acting on behalf of BP or any other released
party.

If you are married, both you and your spouse must sign the Release. You and your spouse should not sign the
Release unless you both intend to release all claims.

If you are represented by an attorney in connection with your claim, confer with your attorney about
your options before signing this Release.

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RELEASE AND COVENANT NOT To St

12.

In consideration of payment in the amount of ; Claimant hereby releases and forever discharges, and covenants not to sue
BP Exploration & Production Inc. (“BP”) and the other Released Parties, including but not limited to the parties listed in Attachment
A to this Release, for any losses, damages, costs, expenses, injuries, claims, causes of actions, liabilities, or other relief that Claimant
has or may have, whether known or unknown, whether present or future, whether direct or indirect, whether legal or equitable, arising
from or relating in any way to the April 20, 2010 blowout of the Macondo Well, the sinking of Transocean’s Deepwater Horizon
drilling rig, and the subsequent oil spill m the Gulf of Mexico (the “Incident”) (collectively, “Claims”), provided however that this
Release does not apply to claims (i) for bodily injury (including claims alleging a mental health injury) (“Bodily Injury”) or (ii) by
shareholders of BP or other Released Parties for alleged violations of securities laws (“Securities Claim”).

Claimant also, on behalf of Claimant’s spouse, heirs, beneficiaries, agents, estates, executors, administrators, personal representatives,
subsidiaries, parents, affiliates, partners, limited partners, members, joint venturers, shareholders, predecessors, successors, assigns,
insurers, and attorneys (collectively, “Affiliates”), hereby releases and forever discharges, and covenants not to sue BP and the other
Released Parties for any Claims released by Claimant pursuant to Paragraph | above. With regard to an insurer of the Claimant,
notwithstanding anything to the contrary in the foregoing, the execution of this Release by Claimant shall not release the claims of an
insurer of Claimant if and only if the Claimant has disclosed in writing on Claimant's Full Review Final Claim Form for Fina]
Payment or Emergency Advance Payment Claim Form submitted to the Gulf Coast Claims Facility the fact of a payment, and the
amount of the payment, by the insurer to Claimant.

This Retease applies to all Claims regardless of the legal or equitable theory (including legal and equitable theories under
federal, state, local, and international law, and including without limitation statutory law, regulation, common law, maritime
law, strict liability, negligence, gross negligence, punitive damages, nuisance, trespass, and all other legal and equitable
theories), whether existing now or arising in the future, arising out of or in any way relating to the Incident, provided however
that this Release does not apply to claims for Bodily Injury or Securities Claim,

Released Parties means anyone who is or could be responsible or liable in any way for the Incident or any damages related thereto,
whether a person, company or governmental entity, including (but fiot limited to) BP, other potentially responsible or liable parties,
including but not limited to the parties listed in Attachment A to this Release, the federa! Oi Spill Liability Trust Fund and any state
or local fund, and each of their respective Affiliates as defined above:

Claimant represents and warrants that Clarmant (1) hag authority to execute this Release; and (ii) has not sold or otherwise
transferred or assigned any of the Claims, or any interests #4 such Claims,

Claimant represents and warrants that Claimant has not received any payment from any insurer or other party (other than BP or
the GCCF) in connection with the Incident, other than payments disclosed on the Full Review Final Claim Form for Final
Payment. However, the representation and warranty contained in this section (6) is not applicable to a Claimant electing to
submit a Quick Payment Final Claim Form and receive a Quick Payment,

Claimant will dismiss with prejudice within 10 days of executing this Release any litigation concerning the Incident (other than
litigation alleging only Bodily Injury or Securities Claim) filed by or on behalf of Claimant against BP or any other Released Parties.
Claimant also will withdraw (the obligation to withdraw is satisfied by affirmatively declining to participate if and when the Claimant
receives any communication giving Claimant the option of participating or not participating in a class action or similar procedural
device) from any existing and will not join any new class actions or similar procedural devices concerning or relating to the Incident
(other than class actions or similar procedural devices alleging only Bodily Injury or Securities Claim),

This Release is not intended to prevent any of the Released Parties from exercising their respective rights of contribution, subrogation,
or indemnity under the Oil Pollution Act of 1990 (“OPA”) or any other law. As this Release is fully and completely resolving,
together with all other Claims, Claimant’s claim under OPA, BP is hereby subrogated to any and all rights that Claimant has arising
from the Incident.

The payment to Claimant is made without any admission of liability or wrongdoing, or any acknowledgment that the law
recognizes any allegation referenced herein, by BP or any other Released Party.

. The provisions of this Release and all questions with respect to the construction and enforcement thereof and the rights and liabilities

hereto shall be governed by, and construed and enforced in accordance with, the laws of the state of residence of the Claimant at the
time of signing this Release without regard to conflicts of laws principles,

This Release supersedes any and all other agreements, written or oral, between BP and Claimant with respect to such
subject matter of this Release.

If there is no signature on the tine below for Claimant’s Spouse, Claimant represents and warrants that Claimant is not married.

Print Name of Claimant’s Signature: Date:

Claimant:

fod

(Month/Day/Y ear)

Print Name of Claimant’s | Spouse’s Signature:
Spouse:

Date:
fof

(Month/Day/Year)

Title, if a business:

Case 2:10-md-02179-CJB-DPC Document 6356-8 Filed 04/25/12

Attachment A

Aerotek, Inc.

Ameri-Force, Inc.

Anadarko Petroleum Company

Anadarko Petroleum Corporation
Anadarko E&P Company LP

Art Catering, Inc.

Ashland

BJ Services Company, USA

BP America Inc.

BP America Production Company

BP Company North America Inc,

BP Corporation North America Inc,

BP Corporation North America Inc, Savings Plan Investment Oversight Committee
BP Energy Company

BP Exploration (Alaska) Inc.

BP Global Special Products (America) Inc.
BP Holdings North America Limited

BP ple

BP Products North America Inc.

Brett Robinson Gulf Corporation
Cameron Corporation
Cameron International Corporation f/k/a Cooper Cameron Corporation
Cameron International Corporation d/b/a/ Cameron Systems Corporation
Center for Toxicology and Environmental Health L.L.C,
Chouest Shorebase Services, LLC

Clean Harbors

Core 4 Kebawk, LLC

Crowder/Gulf Joint Venture

Crowder Gulf Disaster Recovery
Diamond Offshore Company

DOF Subsea USA, Inc.

Drill-Quip, Inc,

Entrix, Inc.

Environmental Standards

EPS Corporation

ERG

ES&H Environmental Services

ESIS, Inc.

Exponent

Global Diving & Salvage, Inc.

Gulf Offshore Logistics, LLC

Gulf Offshore Logistics International,.LLC
Halliburton Energy Services, Inc.
Halliburton Company

Hamilton Eng.

Hepaco

Hilcorp Energy Company

Hyundai Heavy Industries Co. Ltd, Inc.
Hyundai Motor Company

In Rem Vessels

Island Ventures II

Jupiter Insurance Limited

LaBorde Marine Services, LLC

Lloyd's of London

Marine Spill Response Corporation

MEG Energy Corp

M-IL.L.C.

M-I Drilling Fluids L.L.C,

M-I Swaco

Miller Environmental Group, Inc.

Page 3 of 4
Case 2:10-md-02179-CJB-DPC Document 6356-8 Filed 04/25/12 Page 4 of 4

Mitsui & Co. (USA), Inc.

Mitsui & Co, Ltd,

Mitsui Oil Exploration Co, Ltd.
Moran Environmental Recovery, LLC
MOEX Offshore 2007 LLC

Moex USA Corporation

MV Monica Ann

MV Pat Tilman

MV Damon B. Bankston

MY¥ Max Chouest

MV Ocean Interventions

MV C. Express

MV Joe Griffin

MV Mr. Sidney

MV Hilda Lab

MV Sailfish

MV Seacor Washington

MV Seacor Vanguard

Nalco Holding Company

Nalco Finance Holdings LLC

Nalco Finance Holdings Inc.

Nalco Holdings LLC

Nalco Company

Nautical Ventures, LLC

Nautical Solutions, LLC

O'Brien's Response Management, Inc.
Ocean Runner, Inc.

Oceancering International, Inc.
Offshore Cleaning Systems L.L.C.Offshore Service Vessels, LLC
Offshore Inland Marine & Oilfield Services, Inc.
Ranger Offshore, Inc.

Reel Pipe, LLC

Schlumberger, Ltd.

Seacor Marine, LLC

Seacor Marine, Inc.

Seacor Marine International, Inc.
Siemens Financial, Inc.

Seafairer Boat, LLC

State Sieet Bank and Trust Company
Subsea 7 LLC

The Response Group, Inc.
TestAmerica, Inc.,

Tiburon Divers, Inc.

Tidewater Marine LLC

Tiger Safety, LLC

TL Wallace

Transocean Inc.

Transocean Deepwater, Inc.
Transocean Drilling (U.S.A.) Ine.
Transocean Enterprise Inc.
Transocean Holdings Inc.

Transocean Holdings LLC
Transocean Ltd.

Transocean Offshore Deepwater Drilling, Inc.
Transocean Offshore USA, Inc.
Triton Asset Leasing GmbH

Triton Hungary Asset Management KFT
Triton Hungary Asset Management Limited Liability Company
USES/Construct Corps

Weatherford International Ltd.
Weatherford U.S. L.P

Worley Catastrophe Services, LLC
Worley Catastrophe Response, LLC
